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                       IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
------------------------------------------------------------------------------------------------------------

ISRAEL GARCIA, individually and on
behalf of a class of similarly situated individuals,

                                 Plaintiff,                      No.: 16-CV-02574-MJD-BRT

                        v.

TARGET CORPORATION, a Minnesota                                  MOTION FOR CLASS
corporation,                                                     CERTIFICATION

                                 Defendant.


                PLAINTIFF’S MOTION FOR CLASS CERTIFICATION


        Plaintiff Israel Garcia (“Plaintiff”), through his undersigned counsel, and pursuant

to Fed. R. Civ. P. 23 and Local Rule 7-1, hereby moves to certify a class of individuals

who received unauthorized automated debt collection calls placed by Defendant Target

Corporation in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

seq., defined as:

        All persons in the United States and its Territories whose cellular telephone
        number was called by Target for debt collection purposes using a predictive
        dialer from March 27, 2012 to May 15, 2018, but who were not the debtor
        on the account as evidenced by a “wrong party” release code in Target’s
        records and verified by a historical reverse-append.

        Plaintiff also respectfully requests that the Court appoint Plaintiff’s Counsel,

Eugene Y. Turin and Evan M. Meyers of McGuire, Law, P.C. as Class Counsel, and

appoint Robert K. Shelquist of Lockridge Grindal Nauen, P.L.L.P. as Liaison Counsel.

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       In support of his Motion, Plaintiff submits the concurrently filed memorandum of

law.



Dated: September 27, 2018                 Respectfully submitted,
                                          ISRAEL GARCIA, individually and on behalf
                                          of a Class of similarly situated individuals
                                          By: /s/       Eugene Y. Turin
                                                 One of His Attorneys

Myles McGuire (pro hac vice)
Evan M. Meyers (pro hac vice)
Eugene Y. Turin (pro hac vice)
McGuire Law, P.C.
55 W. Wacker Dr., 9th Fl.
Chicago, IL 60601
Tel: (312) 893-7002
mmcguire@mcgpc.com
emeyers@mcgpc.com
eturin@mcgpc.com

Robert K. Shelquist
Lockridge Grindal Nauen, PLLP
100 Washington Ave., Ste. 220
Minneapolis, MN 55401
Tel: (612) 339-6900
rkshelquist@locklaw.com

Counsel for Plaintiff Israel Garcia and
Proposed Class Counsel




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                            CERTIFICATE OF SERVICE

       I hereby certify that, on September 27, 2018, I caused the foregoing Plaintiff’s

Motion for Class Certification to be electronically filed with the Clerk of the Court using

the CM/ECF system. A copy of said document will be electronically transmitted to all

counsel of record:


                                          /s/ Eugene Y. Turin




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